









Dismissed and Memorandum Opinion filed February 26, 2004









Dismissed and Memorandum Opinion filed February 26,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01228-CR

____________

&nbsp;

SU-HUI WU
LIEN, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
209th District Court

Harris County,
Texas

Trial Court Cause No.
889,050

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM








Judgment rendered
and Memorandum Opinion filed February 26, 2004.

Panel consists of
Chief Justice Hedges and Justices Frost and Guzman. 

Do Not Publish C Tex.
R. App. P. 47.2(b).

&nbsp;





